    Case 15-22215-CMB          Doc 121    Filed 09/10/20 Entered 09/10/20 12:56:32   Desc Main
                                         Document Page 1 of 2
                               UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF PENNSYLVANIA

IN RE:
   KEVIN T. LIGHTNER
                                                       Case No. 15-22215CMB

               Debtor(s)                               Chapter 13

   Ronda J. Winnecour                                  Document No.___

               Movant
         vs.

   WELLS FARGO BANK NA

               Respondent(s)

                  NOTICE THAT MORTGAGE CLAIM HAS BEEN PAID IN FULL

   Chapter 13 Trustee Ronda J. Winnecour hereby gives notice to the holders of claims
secured by a security interest in the debtor’s principal residence, i.e., the Respondents
named above, that the claim has been paid in full. The Trustee will not make any further
payments to the creditor for taxes, insurance, or other escrow items. Going forward the
debtor(s) shall pay property taxes and insurance premiums directly.

   The holders of a claim secured by a security interest in the debtor’s principal residence
are requested to notify the debtor, debtor’s counsel and the Trustee if the creditor does not
agree that the debtor has paid in full, with applicable interest, the amount required to pay
the claim in full. The statement should itemize the required cure, if any, that the holder
contends remain unpaid as of the date of this statement.

Trustee Record Number - 2
Court Claim Number - 13




                                                    /s/ Ronda J. Winnecour
   9/10/2020                                        Pa. ID #30399
                                                    CHAPTER 13 TRUSTEE WD PA
                                                    600 GRANT STREET
                                                    SUITE 3250 US STEEL TWR
                                                    PITTSBURGH, PA 15219
                                                    (412) 471-5566
                                                    cmecf@chapter13trusteewdpa.com
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                               UNITED STATES BANKRUPTCY COURT
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IN RE:
   KEVIN T. LIGHTNER
                                                       Case No.15-22215CMB
               Debtor(s)
                                                       Chapter 13
   Ronda J. Winnecour
                                                       Document No.___
               Movant
         vs.

   WELLS FARGO BANK NA

               Respondent(s)
                                 CERTIFICATE OF SERVICE

      I hereby certify that on the date shown below, I served a true and correct copy
of NOTICE THAT MORTGAGE CLAIM HAS BEEN PAID IN FULL upon the following, by
regular United States mail, postage prepaid, addressed as follows:
 KEVIN T. LIGHTNER, 4741 DOYLE ROAD, PITTSBURGH, PA 15227
 CHRISTOPHER M FRYE ESQ, STEIDL & STEINBERG, GULF TOWER STE 2830, 707
 GRANT ST, PITTSBURGH, PA 15219
 WELLS FARGO BANK NA, ATTN PAYMENT PROCESSING MAC# F2302 04C, ONE
 HOME CAMPUS, DES MOINES, IA 50328
 WELLS FARGO BANK NA, ATTN BANKRUPTCY DEPT, MAC# D3347-014, 3476
 STATEVIEW BLVD, FORT MILL, SC 29715
 POWERS KIRN & ASSOCIATES LLC, EIGHT NESHAMINY INTERPLEX STE 215,
 TREVOSE, PA 19053




09/10/2020                                          /s/ Roberta Saunier

                                                    Administrative Assistant
                                                    Office of the Chapter 13 Trustee
                                                    CHAPTER 13 TRUSTEE WD PA
                                                    600 GRANT STREET
                                                    SUITE 3250 US STEEL TWR
                                                    PITTSBURGH, PA 15219
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